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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,                            Case No. 15-cv-20457
                                                   Hon. Matthew F. Leitman
v.

DWAYNE DUPREE and
SHAWN PEARSON,

          Defendants.
________________________________________________________________/

     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT
      SHAWN PEARSON’S MOTION TO STRIKE PROPOSED EXPERT
                      TESTIMONY (ECF #93)

       On August 27, 2016, Defendant Shawn Pearson (“Pearson”) filed a motion

to strike the proposed expert testimony of Government witness Joseph Jensen

(“Jensen”) (the “Motion”). (See ECF #93.) In the alternative, Pearson asked the

Court to adjourn the scheduled September 7, 2016, trial date to allow him to retain

his own rebuttal expert. (See id.) The Court held a hearing on the Motion on

September 6, 2016.

       For the reasons stated on the record at the September 6, 2016, hearing, IT IS

HEREBY ORDERED that the Motion (ECF #93) is GRANTED IN PART AND

DENIED IN PART as follows. The Motion is DENIED to the extent that it seeks

to exclude Jensen’s testimony on the grounds that the Government failed to


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provide timely disclosure of Jensen’s anticipated testimony.       The Motion is

GRANTED to the extent it seeks an adjournment of the scheduled trial date to

allow Pearson to retain his own rebuttal expert and to file a Daubert motion

challenging Jensen’s proposed testimony.

      Counsel shall work together with the Court’s Case Manager to determine a

date and time for a Daubert hearing with respect to Jensen’s testimony. Once a

date and time for that hearing is determined, counsel shall file a stipulated order

with the Court setting forth the briefing and hearing schedule for the Daubert

motion. The stipulated order shall also memorialize the Speedy Trial Act waivers

that were placed on the record on September 6, 2016.

      IT IS SO ORDERED.

                                      /s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: September 7, 2016

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on September 7, 2016, by electronic means and/or
ordinary mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (313) 234-5113




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